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PVale 1a MMe (-1-le Ye) o]-1anct-\V ale M tal is
Tate Mal-c-M Cll Qn Vitam Bl emecle) ©) al]

| know stephen
But she makes my life hell anyways

| literally have half a year left of
senior year

| just wanna finish | have basketball
and scholl and after school stuff I'm
not doing this to piss her off I'm
doing this so | can finish school and
not wake up at 5 am and Drive an hr
to school everyday

If she wants to send me away when
there's a half a year left of senior
year she can | don't care but that
doesn't make any sense for her to
do that

She has my number she can text
me

But I'm gonna stay with izzy till she
gets back

Zo) at-)Y,-mcomanlinl at] ofeleh man

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- Is there no way she'll
Let me go to this really important
thing for just 2 hrs

Can you please do me a huge
favour?

WAV ato] acm dalomrchie)

I'm gonna leave for an hr 2 hrs max
can you cover for me and make sure
my mum doesn't ask for me or need
me for anything please I'll do
whatever

It's really important

Can you please do that for me?

bY =e 1} [=1=) OM alON

Maan (e)|nvem con n-s-\e-10-10/0) la meie)

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New Newest 2019
Oct 22, 2016, 1:51 AM

Vi al-1e-me fe MU ime [erg

| left
| tipped the guy

Wi'FTmCaVZialemn Comialece mein con-\-Jalh\]
Jian) 8s-10)p mn COmW (ela ae) am al-larel (el dal lave
TiaTom alm WSs

LSM Echoes =a\Z- 10 Oks

Yeah | know
| wanna do it

Tell them | wanna do clothes

Oct 22, 2016, 4:21 PM

Oct 28, 2016, 6:09 PM

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a for my Bien

O)a-\aaslec-ee

_ Awesome
Feb 13, 2015, 8:46 PM

Hey mum said you have the -
party info

Can | have it please
Feb 14, 2015, 7:40 PM

pares 8 i
ey who can you have perform
at ry birthday at such late

Stool i ame

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Gmail - Fwd: Meee Page | of 2

C7] Grnait 22016 oct <i

Fwd: Meee

2 (messages

oo eee cents Gh ee ae Cees es ee se eR OS HO NEES HRT TRE Ot eet OCETEE IRE: SHUREDET CDOT ee ee res

Ste hen Belafonte Fri, Oct 6.: 2017 at 10:1 16 PM
To:

Mei thanking me for taking care of a Says jimmy should be shot
-—- -~— Forwarded message ----------

From:

Date: ct 10, 731 PM

Subject: meee

To Seer Soe os

Thank you so much honey for rescuing .what her dad did to her is disgusting he should be
shot, hank god she has you honey,| can’ how much it means to me that you went all the way to LA

to get her for me,| love you even morelxxxxx
Sent from my BlackBerry® from Optus

Osiris Inc
Stephen Belafonte
7095 Hollywood Bivd, #576

Los Angeles. CA 90028

PLEASE ALWAYS CC - Melissa Nakamura hi

See ees 0 oe banese CONFIDENTIALITY NOTICE ***setrer rset sncte

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OCC OCE EP a SORTER ChE+aLaOe

< >

Stephen Belafonte Mon, Oct 9, 2017 at 9:50 PM
To:

me wishing her good luck and giving tips
conesteeee Forwarded message —--__ --
From: Stephen Belafonte

hitvs://Anail. goople.con/mail/w/0/?ui=2&ik=cc36f50caS &jsver=z8 gQ0BaJEzM.cn.&view... }0/4$/2017

